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                        \IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                   AT MARTINSBURG

  JOHN SAMUEL LEIGH,

                  Petitioner,

 v.                                                    CIVIL ACTION NO. 3:04CV35
                                                       CRIMINAL ACTION NO. 3:01CR26-1
                                                       (BROADWATER)

 UNITED STATES OF AMERICA,

                  Respondent.

                   ORDER ADOPTING REPORT AND RECOMMENDATION

        On this day the above styled case came before the Court for consideration of the Report and

 Recommendation of Magistrate Judge James E. Seibert, dated June 3, 2005. The defendant filed his

 objections on June 20, 2005. In the interests of justice and in accordance with 28 U.S.C. § 636(b)(1),

 the Court has conducted a de novo review. After reviewing the above, the Court is of the opinion that

 the Magistrate Judge’s Report and Recommendation should be and is hereby ORDERED adopted.

        The Court further ORDERS that the petition of the petitioner be DENIED and DISMISSED

 WITH PREJUDICE based on the reasons set forth in the Magistrate Judge’s Report and

 Recommendation. It is further ORDERED that this action be and is hereby STRICKEN from the

 active docket of this Court.

        The Clerk is directed to transmit true copies of this Order to the petitioner and all counsel of

 record herein.

        DATED this 24th day of October 2005.
